      Case 20-11434 Doc 17 Filed 08/14/20 Entered 08/14/20 23:23:18 Imaged Certificate of
                                     Notice Page 1 of 5
Information to identify the case:
Debtor 1               Nancy Eleby                                                      Social Security number or ITIN        xxx−xx−3204
                       First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                       First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Eastern District of Louisiana
                                                                                        Date case filed for chapter 7 8/11/20
Case number:          20−11434 Section A Office Code: 2


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Nancy Eleby

2.      All other names used in the
        last 8 years

3.     Address                                3161 Sweet Gum Drive
                                              Harvey, LA 70058

4.     Debtor's attorney                      Andrea M. Jeanmarie                                   Contact phone (504) 374−0977
                                              Southeast Louisiana Legal Services
       Name and address                       2439 Manhattan Boulevard                              Email: ajeanmarie@slls.org
                                              Suite 103
                                              Harvey, LA 70058

5.     Bankruptcy trustee                     Barbara Rivera−Fulton                                 Contact phone (504) 402−1220
                                              P.O. Box 19980
       Name and address                       New Orleans, LA 70179                                 Email: barbararfulton2015@gmail.com −−>
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
     Case 20-11434 Doc 17 Filed 08/14/20 Entered 08/14/20 23:23:18 Imaged Certificate of
                                    Notice Page 2 of 5
Debtor Nancy Eleby                                                                                                          Case number 20−11434


6. Bankruptcy clerk's office                   United States Bankruptcy Court                                 Hours open:
                                               Eastern District of Louisiana                                  8:30 − 4:30 Monday − Friday
   Documents in this case may be filed at this Hale Boggs Federal Building
   address. You may inspect all records filed 500 Poydras Street, Suite B−601                                 Contact phone (504) 589−7878
   in this case at this office or online at    New Orleans, LA 70130
   www.pacer.gov.
                                                                                                              Date: 8/11/20

7. Meeting of creditors                         September 11, 2020 at 02:00 PM                                Location:

   Debtors must attend the meeting to be       The meeting may be continued or adjourned to a later date. Telephone Conference
   questioned under oath. In a joint case,     If so, the date will be on the court docket.
   both spouses must attend. Creditors may     At the meeting, the trustee may give oral notice of an        Trustee:
   attend, but are not required to do so.      intention to abandon estate property.                         Barbara Rivera−Fulton
                                               Debtor attorneys will be responsible for verifying both the
                                               debtors' photo ID and the debtors' social security number     Call In Number: 877−772−3944
                                               on the record. If you are a pro se debtor who appears by      Call In Passcode: 2951486
                                               telephone, the trustee may require that you appear at a
                                               continued meeting in order to present your proof of
                                               identification and social security number and to affirm that
                                               you were the one who testified at the telephonic meeting. If
                                               you have any questions or concerns, please contact your
                                               attorney or the bankruptcy case trustee (see box 5).
   Debtor(s) must inform the court of any change of address as long as this case or any related adversary proceeding is pending. B. R. 4002. Failure to
   do so may result in dismissal of the case.



8. Presumption of abuse                         The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                  File by the deadline to object to discharge or                  Filing deadline: 11/10/20
                                              to challenge whether certain debts are
   The bankruptcy clerk's office must receive dischargeable:
   these documents and any required filing
   fee by the following deadlines.
                                                You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                             Filing deadline: 30 days after the
                                                The law permits debtors to keep certain property as           conclusion of the meeting of creditors
                                                exempt. If you believe that the law does not authorize an
                                                exemption claimed, you may file an objection.
   Financial Management Course:                 Certification About a Financial Management Course (Official Form 423) for individual chapter 7 debtor
                                                due 60 day after first date set for the meeting of creditors.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a
                                                proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property
     Case 20-11434 Doc 17 Filed 08/14/20 Entered 08/14/20 23:23:18 Imaged Certificate of
                                    Notice Page 3 of 5
                                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                              not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                              www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                              debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                              objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline           page 2
          Case 20-11434 Doc 17 Filed 08/14/20 Entered 08/14/20 23:23:18 Imaged Certificate of
                                         Notice Page 4 of 5
                                               United States Bankruptcy Court
                                               Eastern District of Louisiana
In re:                                                                                                     Case No. 20-11434-MSG
Nancy Eleby                                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 053L-2                  User: admin                        Page 1 of 2                          Date Rcvd: Aug 12, 2020
                                      Form ID: 309A                      Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 14, 2020.
db             +Nancy Eleby,   3161 Sweet Gum Drive,     Harvey, LA 70058-1628
smg            +Collector of Revenue,    City of New Orleans,    Department of Finance,
                 1300 Perdido Street, RM 1W15,    New Orleans, LA 70112-2128
smg             U. S. Attorney’s Office,    Eastern District of Louisiana,     650 Poydras Street,   Suite 1600,
                 New Orleans, LA 70130-7212
3830767         Cavalry Portfolio Services, LLC,    500 Summit Lake Drive,     Suite 400,   South Salem, NY 10590
3830772        +Michael D. Hannan,    Hannan, Guisti & Hannan L.L.P.,    2201 Ridgelake Drive,
                 Metairie, LA 70001-2097
3830773        +Midland Credit Management,    350 Camino de la Reince,    Suite 100,    San Diego, CA 92108-3007
3830775        +NCB Management Services,    PO Box 1099,    Langhorne, PA 19047-6099
3830776         Recovery Department,    PO Box 965064,    Orlando, FL 32896-5064
3830778        +Republic Finance Branch #79,    282 Tower Rd,    Ponchatoula, LA 70454-8318
3830781        +Stephen Burce & Associates,    PO Box 808,    Edmond, OK 73083-0808
3830782        +Superlative,   9355 East Stockton Blvd,     Suite 210,   Elk Grove, CA 95624-9528

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ajeanmarie@slls.org Aug 12 2020 20:39:36       Andrea M. Jeanmarie,
                 Southeast Louisiana Legal Services,    2439 Manhattan Boulevard,     Suite 103,
                 Harvey, LA 70058
tr             +EDI: BBRIVERAFULTON.COM Aug 13 2020 00:28:00       Barbara Rivera-Fulton,    P.O. Box 19980,
                 New Orleans, LA 70179-0980
smg             EDI: LADOR Aug 13 2020 00:18:00      Louisiana Department of Revenue,
                 Collection Division/Bankruptcy Section,    P. O. Box 66658,    Baton Rouge, LA 70896-6658
smg            +E-mail/Text: bankruptcy_bpc@lwc.la.gov Aug 12 2020 20:40:17        Louisiana Workforce Commission,
                 UI Tax Liability and Adjudications,    Attn: Bankruptcy Unit,      1001 N. 23rd Street,
                 Baton Rouge, LA 70802-3338
ust            +E-mail/Text: ustpregion05.nr.ecf@usdoj.gov Aug 12 2020 20:40:10        Office of the U.S. Trustee,
                 400 Poydras Street,   Suite 2110,    New Orleans, LA 70130-3238
3830765         EDI: BANKAMER2.COM Aug 13 2020 00:28:00      Bank of America,     PO Box 25118,
                 Tampa, FL 33622-5118
3830768         EDI: CITICORP.COM Aug 13 2020 00:18:00      Citi Bank,    PO Box 78045,    Phoenix, AZ 85062-8019
3830766         EDI: CAPITALONE.COM Aug 13 2020 00:18:00      Capital One,    PO Box 71083,
                 Charlotte, NC 28272-1083
3830769         EDI: WFNNB.COM Aug 13 2020 00:28:00      Comenity Bank Visa,    PO Box 182273,
                 Columbus, OH 43218-2273
3830770        +EDI: DISCOVER.COM Aug 13 2020 00:18:00      Discover Card,    PO Box 3025,
                 New Albany, OH 43054-3025
3830771        +EDI: RMSC.COM Aug 13 2020 00:18:00      Lowe’s,    PO Box 105968,    Atlanta, GA 30348-5968
3830774         EDI: MID8.COM Aug 13 2020 00:28:00      Midland Credit Management, Inc.,     P.O. Box 60578,
                 Los Angeles, CA 90060-0578
3830777         E-mail/Text: bankruptcy@republicfinance.com Aug 12 2020 20:40:40        Republic Finance,
                 5041 Lapalco Blvd., Suite 102,    Marrero, LA 70072
3830779         EDI: RMSC.COM Aug 13 2020 00:18:00      Sam’s Card,    PO Box 965004,    Orlando, FL 32896-5004
3830780        +E-mail/Text: jennifer.chacon@spservicing.com Aug 12 2020 20:40:45
                 Select Portfolio Servicing, INC,    PO Box 65250,    Salt Lake City, UT 84165-0250
                                                                                                TOTAL: 15

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 14, 2020                                             Signature: /s/Joseph Speetjens
        Case 20-11434 Doc 17 Filed 08/14/20 Entered 08/14/20 23:23:18 Imaged Certificate of
                                       Notice Page 5 of 5


District/off: 053L-2         User: admin                 Page 2 of 2                   Date Rcvd: Aug 12, 2020
                             Form ID: 309A               Total Noticed: 26

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 11, 2020 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
